        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 1 of 77



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


In re SANCTUARY BELIZE LITIGATION
                                                            No: ____________
(proposed)


FEDERAL TRADE COMMISSION

                      Plaintiff,                            No: 18-cv-3309-PJM

       v.

ECOLOGICAL FOX, LLC et al.

                      Defendants.


 STIPULATED PRELIMINARY INJUNCTION AS TO DEFENDANTS ROD KAZAZI,
FOUNDATION PARTNERS, BRANDI GREENFIELD, BG MARKETING LLC, FRANK
    COSTANZO, DEBORAH CONNELLY, ECOLOGICAL FOX LLC, MICHAEL
    SANTOS, ANGELA CHITTENDEN, AND BEACH BUNNY HOLDINGS LLC
       THIS MATTER comes before the Court upon stipulation of Plaintiff, the Federal Trade

Commission (“FTC”), Defendants Rod Kazazi, Foundation Partners, Brandi Greenfield, BG

Marketing LLC, Frank Costanzo, Ecological Fox LLC, and Michael Santos (for purposes of this

Order, the “Stipulating Defendants”), and Relief Defendants Angela Chittenden, Beach Bunny

Holdings LLC, and Deborah Connelly (for purposes of this Order, the “Stipulating Relief

Defendants”) for the entry of a preliminary injunction.

       WHEREAS the FTC filed its Complaint for Permanent Injunction and Other Equitable

Relief on October 31, 2018, and the Complaint and summons were served on the Defendants

then named in the Complaint on or about November 7, 2018;

       WHEREAS the Court granted the FTC’s request for an ex parte temporary restraining

order with asset freeze, writs ne exeat, appointment of a temporary receiver, and other equitable

relief, and order to show cause why a preliminary injunction should not issue (“TRO”), against

Defendants on November 5, 2018;



                                                1
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 2 of 77




       WHEREAS on November 12, 2018, the Court entered the order amending the ex parte

temporary restraining order;

       WHEREAS on November 20, 2018, the Court extended the TRO as an interim

preliminary injunction to remain in effect through the conclusion of the preliminary injunction

hearing (“IPI”);

       WHEREAS the FTC filed a motion to amend the Complaint on December 28, 2018, to

add Michael Santos and Newport Law Group LLC as defendants, and requesting that Michael

Santos be bound by the IPI;
       WHEREAS the Court granted the FTC’s motion to amend the Complaint on January 11,

2019, and held that Michael Santos was immediately bound by the terms of the IPI;

       WHEREAS, on February 5, 2019, the FTC served Michael Santos with the Amended

Complaint;

       WHEREAS the FTC has alleged that:

               1.      This Court has jurisdiction over the subject matter of this case, and there is

       good cause to believe that it will have jurisdiction over all parties hereto and that venue in

       this district is proper;

               2.      There is good cause to believe that Defendants have engaged in and are
       likely to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. §

       45(a), and the Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310, in connection with

       the marketing and sale of real estate investments and related services, and that the

       Commission is therefore likely to prevail on the merits of this action;

               3.      There is good cause to believe that immediate and irreparable harm will

       result from the Defendants’ ongoing violations of Section 5 of the FTC Act and TSR

       unless Defendants are restrained and enjoined by Order of this Court;

               4.      Weighing the equities and considering Plaintiff’s likelihood of ultimate

       success on the merits, a preliminary injunction and other equitable relief is in the public

       interest; and

                                                 2
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 3 of 77




       WHEREAS the Stipulating Defendants and Stipulating Relief Defendants, by agreeing to

this Order, make no admission as to the truth of Plaintiff’s allegations recited above or in the

Amended Complaint, or as to the relief that should be granted in this action;

       WHEREAS the undersigned parties agree to the entry of this Order for Preliminary

Injunction, which shall remain in effect until the Court’s determination of the merits of this

action or until otherwise modified; and

       WHEREAS the FTC is an independent agency of the United States of America and no

security is required of any agency of the United States for issuance of a preliminary injunction.
Fed. R. Civ. P. 65(c).

       IT IS AGREED TO by the undersigned parties as follows:

                                         DEFINITIONS
       For the purpose of this Order, the following definitions shall apply:

       A.      “Asset” means any legal or equitable interest in, right to, or claim to, any

property, wherever located and by whomever held, whether tangible, intangible, digital, or

otherwise, including, but not limited to, digital currencies, virtual currencies, digital tokens, and

cryptocurrencies.

       B.      “Corporate Defendant(s)” means Global Property Alliance, Inc., Sittee River

Wildlife Reserve, Buy Belize, LLC, Buy International, Inc., Foundation Development

Management, Inc., Eco-Futures Development, Eco-Futures Belize Limited, Newport Land Group

LLC, Power Haus Marketing, and Sanctuary Belize Property Owners’ Association, Prodigy

Management Group LLC, Foundation Partners, BG Marketing, LLC, Ecological Fox, LLC,

Belize Real Estate Affiliates LLC, Exotic Investor LLC, Southern Belize Realty LLC, and

Atlantic International Bank Ltd. and each of their subsidiaries, affiliates, successors, and assigns.

       C.      “Defendant(s)” means the Corporate Defendants and Individual Defendants,

individually, collectively, or in any combination.

                                                  3
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 4 of 77



       D.      “Document” is synonymous in meaning and equal in scope to the usage of

“document” and “electronically stored information” in Federal Rule of Civil Procedure 34(a),

Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound and

video recordings, images, Internet sites, web pages, websites, electronic correspondence,

including e-mail and instant messages, contracts, accounting data, advertisements, FTP Logs,

Server Access Logs, books, written or printed records, handwritten notes, telephone logs,

telephone scripts, receipt books, ledgers, personal and business canceled checks and check

registers, bank statements, appointment books, computer records, customer or sales databases

and any other electronically stored information, including Documents located on remote servers

or cloud computing systems, and other data or data compilations from which information can be

obtained directly or, if necessary, after translation into a reasonably usable form. A draft or non-

identical copy is a separate document within the meaning of the term.

       E.       “Electronic Data Host” means any person or entity in the business of storing,

hosting, or otherwise maintaining electronically stored information. This includes, but is not

limited to, any entity hosting a website or server, and any entity providing “cloud based”

electronic storage.

       F.       “Individual Defendant(s)” means Andris Pukke, Peter Baker, Luke Chadwick,

John Usher, Rod Kazazi, Brandi Greenfield, Frank Costanzo, and Michael Santos individually,

collectively, or in any combination.

       G.      “Receiver” means Robb Evans and Associates LLC, which is the Receiver

appointed by the Court in this Order, the TRO, and the IPI. This shall also mean any Receiver

appointed by the Court in any subsequent order in this case, and any deputy receivers who shall

be named by the Receiver.



                                                 4
           Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 5 of 77



        H.      “Receivership Entity(ies)” means the Corporate Defendants (except Atlantic

International Bank, Ltd.), and any other entity that: (1) is located at, registered to, or operated

from 3333 Michelson Drive, Suite 500, Irvine, California, and assists, facilitates, or otherwise

conducts business related to the sale of real estate in Belize; (2) assists, facilitates, or otherwise

conducts business related to the acts that are the subject of the Amended Complaint in this matter

or that are prohibited by this Order, and is owned or controlled by any Defendant; or (3) Assets

that are otherwise in the Receivership and that are corporations or other legal entities.

        I.      “Stipulating Defendant(s)” means Rod Kazazi, Foundation Partners, Brandi

Greenfield, BG Marketing LLC, Frank Costanzo, Ecological Fox LLC, and Michael Santos,

individually, collectively, or in any combination, as well as the Stipulating Receivership Entities

and each of their subsidiaries, affiliates, successors, and assigns.

        J.      “Stipulating Receivership Entity(ies)” means BG Marketing, LLC, Ecological

Fox, LLC, and Foundation Partners and each of their subsidiaries, affiliates, successors, and

assigns.

        K.      “Stipulating Relief Defendant(s)” means Angela Chittenden, Beach Bunny

Holdings LLC, and Deborah Connelly, individually, collectively, or in any combination.

        L.      “Relief Defendant(s)” means Angela Chittenden, Beach Bunny Holdings LLC,

the Estate of John Pukke, John Vipulis, and Deborah Connelly.

        M.      “Relief Defendant Limitation Amount” means, for Angela Chittenden,

$150,000.00; for Beach Bunny Holdings, LLC, $115,000.00; for the Estate of John Pukke,

$705,000.00; for John Vipulis, $4,111,000.00; and for Deborah Connelly, $478,804.93.




                                                   5
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 6 of 77



                                                ORDER

                        I.      PROHIBITED BUSINESS ACTIVITIES

       IT IS THEREFORE ORDERED that Stipulating Defendants and their officers, agents,

employees, and attorneys, and all other persons in active concert or participation with them, who

receive actual notice of this Order by personal service or otherwise, whether acting directly or

indirectly, in connection with the advertising, marketing, promoting, or offering for sale of any

goods or services (including the sale of lots or homes), are preliminarily restrained and enjoined

from misrepresenting or assisting others in misrepresenting, expressly or by implication, any

material fact, including, but not limited to:

       A.      The use of a “no debt” business model in a real estate development makes an

investment in the real estate development a less risky investment than one in which the developer

makes payments to creditors;

       B.      Every dollar, or the vast majority of dollars, collected from selling lots in a real

estate development goes back into the development;

       C.      The real estate development will be completed within a specified period of time,

such as a particular number of weeks, months, or years;

       D.      The real estate development will have specific amenities including those expected

of an American luxury resort community;

       E.      Lots within a real estate development will appreciate or appreciate rapidly, such

as a particular rate within a particular period of time;

       F.      Consumers can realize the appreciation of their lots within the real estate

development because there is a robust resale market through which consumers could easily resell

their lots should they choose to do so; and



                                                   6
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 7 of 77



        G.      One or more Defendants have no meaningful involvement with the relevant

business;

        H.      Any other fact material to consumers concerning any good or service, such as:

the total costs; any material restrictions, limitations, or conditions; or any material aspect of its

performance, efficacy, nature, or central characteristics.

         II.     PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

        IT IS FURTHER ORDERED that Stipulating Defendants and their officers, agents,

employees, and attorneys, and all other persons in active concert or participation with any of

them, who receive actual notice of this Order, whether acting directly or indirectly, are hereby

preliminarily restrained and enjoined from:

        A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

birth date, telephone number, email address, credit card number, bank account number, Social

Security number, lot number, lot sale contract, buyback agreement, or other financial or

identifying information of any person that any Stipulating Defendant obtained in connection with

any activities conducted by the Receivership Entities; and

        B.      Benefitting from or using the name, address, birth date, telephone number, email

address, credit card number, bank account number, Social Security number, or other financial or

identifying information of any person that any Stipulating Defendant obtained in connection with

any activities conducted by the Receivership Entities.

        Provided, however, that Stipulating Defendants may disclose such identifying

information to a law enforcement agency, to their attorneys as required for their defense, as

required by any law, regulation, or court order, or in any filings, pleadings or discovery in this

action in the manner required by the Federal Rules of Civil Procedure, applicable local rules, and

by any protective order in the case.
                                                   7
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 8 of 77



                                     III.    ASSET FREEZE

       IT IS FURTHER ORDERED that Stipulating Defendants, Stipulating Relief

Defendants and their officers, agents, employees, and attorneys, and all other persons in active

concert or participation with any of them, who receive actual notice of this Order, whether acting

directly or indirectly, are hereby preliminarily restrained and enjoined from:

       A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

lien or security interest or other interest in, or otherwise disposing of any Assets that are:

               1.      owned or controlled, directly or indirectly, by any Defendant or Relief

                       Defendant;

               2.      held, in part or in whole, for the benefit of any Defendant or Relief

                       Defendant;

               3.      in the actual or constructive possession of any Defendant or Relief

                       Defendant;

               4.      owned or controlled by, controlled or managed by, under common control

                       with, in the actual or constructive possession of, or otherwise held for the

                       benefit of, any corporation, partnership, asset protection trust, HYCET

                       trust, or other entity that is directly or indirectly owned, managed or

                       controlled by any Defendant or Relief Defendant; or

               5.      transferred from any Defendant or Relief Defendant without adequate

                       consideration, or for the primary purpose of shielding the Asset from any

                       creditor.

Provided, however, at any time, a Stipulating Relief Defendant may request, in writing and with

supporting documentation if appropriate, that the Receiver determine whether the Stipulating
                                                  8
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 9 of 77



Relief Defendant’s Assets affected by this Section exceed the applicable Relief Defendant

Limitation Amount. The Receiver will respond as soon as practical, and if the Receiver

determines that sufficient Assets exist, then the Receiver shall determine, in its sole discretion,

which of the Stipulating Relief Defendant’s Assets to exclude from this Section. In that event,

the Receiver shall promptly advise the Stipulating Relief Defendant in writing and in a form

suitable to present to third parties holding the Stipulating Relief Defendant’s Assets.

Additionally: (a) Both the Stipulating Relief Defendant and Receiver will copy the FTC on all

correspondence exchanged concerning requests to exclude Assets; (b) if a Stipulating Relief

Defendant and one or more Defendants have joint control over an Asset, or the Asset is held for

the benefit of a Defendant by a Stipulating Relief Defendant, the Receiver will not count that

Asset as an Asset available to satisfy the Relief Defendant Limitation Amount; and (c) if one or

more Relief Defendants have joint control over an Asset, the Receiver will not count that Asset

as an Asset available to satisfy any Stipulating Relief Defendant’s Limitation Amount unless all

affected Relief Defendants agree in writing. To the extent the Receiver has already determined

that a Stipulating Relief Defendant has met its Relief Defendant Limitation Amount, and

approved unfreezing that Stipulating Relief Defendant’s Assets, nothing in this Order changes

the Receiver’s determination. However, nothing in this Order precludes the Receiver from

rescinding such a determination, and the Receiver shall retain the same discretion and authority

in that regard as was granted in the original order. Without further direction to the Asset Holder

from the FTC or the Receiver, nothing in this Order should be construed as a basis to refreeze

Angela Chittenden’s or Beach Bunny Holdings LLC’s Assets.

       B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

or storage facilities titled in the name of any Stipulating Defendant or subject to access by any



                                                  9
         Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 10 of 77



Stipulating Defendant, except as necessary to comply with written requests from the Receiver

acting pursuant to its authority under this Order;

         C.     Incurring charges or cash advances on any credit, debit, or ATM card issued in

the name, individually or jointly, of any Receivership Entity (which includes any corporation,

partnership, or other entity directly or indirectly owned, managed, or controlled by any

Defendant) or other corporate, partnership, or other entity of which any Defendant is an officer,

director, member, or manager. This includes any corporate bankcard or corporate credit card

account for which any Defendant is, or was on the date that this Order was signed, an authorized

signor. This provision is included for clarity, because such conduct would also violate Paragraph

A.; or

         D.     Cashing any checks or depositing any money orders or cash received from

consumers, clients, or customers of any Receivership Entity.

         Provided, however, the Assets affected by this Section shall only include: (1) all Assets

of Stipulating Defendants as of the time the TRO was entered; and (2) Assets obtained by

Stipulating Defendants and Stipulating Relief Defendants after the TRO was entered if those

Assets were derived from any activity that is the subject of the Amended Complaint in this

matter or that is prohibited by this Order. As to Stipulating Defendant Michael Santos, the

Assets affected by this Section shall only include: (1) all Assets held as of January 11, 2019; and

(2) Assets obtained by him after January 11, 2019 if those Assets were derived from any activity

that is the subject of the Amended Complaint in this matter or that is prohibited by this Order.

This Section does not prohibit any transfers to the Receiver or repatriation of foreign Assets

specifically required by this Order.




                                                 10
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 11 of 77



       Provided further, certain Stipulating Defendants have obtained releases from the Asset

freeze in the prior TRO and the IPI. Frank Costanzo and Deborah Connelly obtained the Order

Modifying Asset Freeze as to Defendant Frank Costanzo and Relief Defendant Deborah

Connelly (DE48) on November 29, 2018. Rod Kazazi obtained the Order Modifying Asset

Freeze as to Defendant Rod Kazazi (DE83) on December 27, 2018. Michael Santos obtained the

Order Modifying Asset Freeze as to Defendant Michael Santos (DE130) on January 28, 2019.

Separately, the Court entered the Order Authorizing Limited Access to Assets (DE 102) on

January 9, 2018. Nothing in this Order modifies or supersedes these orders modifying or

limiting the Asset freeze.

          IV.    DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES

       IT IS FURTHER ORDERED that any financial or brokerage institution (which, for

clarity, includes defendant Atlantic International Bank, Ltd.), coin exchange, cryptocurrency

exchange, or crypto currency service provider, Electronic Data Host, credit card processor,

payment processor, merchant bank, acquiring bank, independent sales organization, third party

processor, payment gateway, insurance company, business entity, or person who receives actual

notice of this Order (by service or otherwise) that:

       (a) has held, controlled, or maintained custody, through an account or otherwise, of any

Document on behalf of any Stipulating Defendant or Stipulating Relief Defendant, or any Asset

that has been owned or controlled, directly or indirectly, by any Stipulating Defendant or

Stipulating Relief Defendant; held, in part or in whole, for the benefit of any Stipulating

Defendant or Stipulating Relief Defendant; in the actual or constructive possession of any

Stipulating Defendant; or owned or controlled by, in the actual or constructive possession of, or

otherwise held for the benefit of, any corporation, partnership, asset protection trust, or other



                                                 11
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 12 of 77



entity that is directly or indirectly owned, managed or controlled by any Stipulating Defendant or

Stipulating Relief Defendant;

        (b) has held, controlled, or maintained custody, through an account or otherwise, of any

Document or Asset associated with credits, debits, or charges made on behalf of any Stipulating

Defendant or Stipulating Relief Defendant, including reserve funds held by payment processors,

credit card processors, merchant banks, acquiring banks, independent sales organizations, third

party processors, payment gateways, insurance companies, or other entities; or

        (c) has extended credit to any Stipulating Defendant or Stipulating Relief Defendant,

including through a credit card account, shall:

        A.      Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

other property related to such Assets, except by further order of this Court; provided, however,

that this provision does not prohibit a Stipulating Defendant or Stipulating Relief Defendant

from incurring charges on a personal credit card established prior to entry of this Order, up to the

pre-existing credit limit;

        B.      Deny any person, except the Receiver, access to any safe deposit box, commercial

mail box, or storage facility that is titled in the name of any Defendant or Relief Defendant,

either individually or jointly, or otherwise subject to access by any Defendant or Relief

Defendant;

        C.      Immediately provide FTC counsel and the Receiver, to the extent not already

provided pursuant to the TRO, a sworn statement setting forth, for each Asset or account covered

by this Section:



                                                  12
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 13 of 77



               1.      The identification number of each such account or Asset;

               2.      The balance of each such account, or a description of the nature and value

                       of each such Asset as of the close of business on the day on which this

                       Order is served, and, if the account or other Asset has been closed or

                       removed, the date closed or removed, the total funds removed in order to

                       close the account, and the name of the person or entity to whom such

                       account or other Asset was remitted; and

               3.      The identification of any safe deposit box, commercial mail box, or

                       storage facility that is either titled in the name, individually or jointly, of

                       any Stipulating Defendant or Stipulating Relief Defendant, or is otherwise

                       subject to access by any Stipulating Defendant or Stipulating Relief

                       Defendant; and

               4.      The cryptographic hash value, time stamp, transaction data, public

                       addresses or other information sufficient to identify, locate, and track

                       cryptocurrency in any blockchain or distributed ledger technology system

                       that is belonging to, for the use or benefit of, or subject to access by any

                       Stipulating Defendant or Stipulating Relief Defendant.

       D.      Upon the request of FTC counsel or the Receiver, provide FTC counsel and the

Receiver, within seven (7) days of any request, with copies of all Documents covered by this

Section, including originals or copies of account applications, account statements, signature

cards, checks, drafts, deposit tickets, transfers to and from the accounts, including wire transfers

and wire transfer instructions, all other debit and credit instruments or slips, currency transaction




                                                  13
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 14 of 77



reports, 1099 forms, and all logs and records pertaining to safe deposit boxes, commercial mail

boxes, and storage facilities.

       Provided, however, that this Section does not prohibit any transfers to the Receiver or

repatriation of foreign Assets specifically required by this Order.

                                 V.   FINANCIAL DISCLOSURES

       IT IS FURTHER ORDERED that:

       A.      To the extent the Stipulating Defendants or Stipulating Relief Defendants have

not already provided complete and accurate financial statements in accordance with Section V of

the TRO, the Stipulating Defendants and Stipulating Relief Defendants shall immediately

prepare and deliver to Plaintiff’s counsel and the Receiver:

               1.      Each Stipulating Defendant and Stipulating Relief Defendant who is an

                       individual shall complete financial statements on the form attached to this

                       Order as Attachment A (Financial Statement of Individual Defendant)

                       and deliver them to FTC counsel and the Receiver;

               2.      Each Stipulating Defendant and Stipulating Relief Defendant that is a

                       corporation or other business entity shall complete financial statements on

                       the form attached to the Order as Attachment B (Financial Statement of

                       Corporate Defendant) and deliver them to FTC counsel and the Receiver;

                       and

               3.      Each Stipulating Defendant and Stipulating Relief Defendant, shall

                       complete the forms attached to this Order as Attachment C (IRS Form

                       4506, Request for Copy of a Tax Return), Attachment D (consent to

                       release financial records), and Attachment E (cryptocurrency disclosure

                       statement) and deliver them to FTC counsel and the Receiver;
                                                 14
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 15 of 77



        B.      Within three (3) days of a written request from the FTC or the Receiver, each

Stipulating Defendant or Stipulating Relief Defendant shall provide any other executed form,

letter, or request sufficient to cause the release to the FTC or Receiver any tax return, return

information, or related material, whether related to a domestic or foreign taxing authority, that

the FTC or Receiver may request.

                          VI.     FOREIGN ASSET REPATRIATION

        IT IS FURTHER ORDERED that to the extent not already completed pursuant to the

TRO, the Stipulating Defendants shall immediately:

        A.      Provide FTC counsel and the Receiver with a full accounting, verified under oath

and accurate as of the date of this Order, of all Assets, Documents, and accounts outside of the

United States which are: (1) titled in the name, individually or jointly, of any Stipulating

Defendant; (2) held by any person or entity for the benefit of any Stipulating Defendant or for

the benefit of, any corporation, partnership, asset protection trust, or other entity that is directly

or indirectly owned, managed or controlled by any Stipulating Defendant; or (3) under the direct

or indirect control, whether jointly or singly, of any Stipulating Defendant;

        B.      Take all steps necessary to provide FTC counsel and Receiver access to all

Documents and records that may be held by third parties located outside of the territorial United

States of America, including signing the Consent to Release of Financial Records appended to

this Order as Attachment E;

        C.      Transfer to the territory of the United States all Documents and Assets located in

foreign countries which are: (1) titled in the name, individually or jointly, of any Stipulating

Defendant; (2) held by any person or entity for the benefit of any Stipulating Defendant or for

the benefit of, any corporation, partnership, asset protection trust, or other entity that is directly



                                                  15
          Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 16 of 77



or indirectly owned, managed or controlled by any Stipulating Defendant; or (3) under the direct

or indirect control, whether jointly or singly, of any Stipulating Defendant; and

          D.    The same business day as any repatriation, (1) notify the Receiver and FTC

counsel of the name and location of the financial institution or other entity that is the recipient of

such Documents or Assets; and (2) serve this Order on any such financial institution or other

entity.

                   VII.   RELIEF DEFENDANT ASSET REPATRIATION

          IT IS FURTHER ORDERED that if any Stipulating Relief Defendant’s domestic

Assets are less than the applicable Relief Defendant Limitation Amount, each such Stipulating

Relief Defendant shall transfer to the territory of the United States sufficient Assets located in

foreign countries until their domestic Assets equal the amounts detailed above.

Provided, to the extent not already completed, each Stipulating Relief Defendant must

immediately inform the FTC and the Receiver how it has made the valuation determination

necessary to comply with this section and provide the FTC and the Receiver sufficient

documentation to evaluate the valuation method used. The FTC and Receiver shall have the

right to challenge any such valuation determination before the Court by filing a memorandum

challenging the determination, attaching all documentation provided by the Stipulating Relief

Defendants, and any additional evidence, if any, relied upon by the movant. The Court shall hear

any such challenge on an expedited basis, in no event less than fourteen (14) days from any

challenge.

Provided further, when any Stipulating Relief Defendant repatriates any Asset, it will inform the

Receiver and the FTC immediately and disclose: (1) a description of the Asset(s) being

transferred; (2) the location to which they are being transferred; and (3) if to a financial



                                                  16
         Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 17 of 77



institution, the name of the financial institution, the name of the account at the financial

institution, and the account number of the account at the financial institution.

                   VIII. NON-INTERFERENCE WITH REPATRIATION

         IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating Relief

Defendants, and their officers, agents, employees, and attorneys, and all other persons in active

concert or participation with any of them, who receive actual notice of this Order, whether acting

directly or indirectly, are hereby temporarily restrained and enjoined from taking any action,

directly or indirectly, which may result in the encumbrance or dissipation of foreign Assets, or in

the hindrance of the repatriation required by this Order, including, but not limited to:

         A.     Sending any communication or engaging in any other act, directly or indirectly,

that results in a determination by a foreign trustee or other entity that would impede repatriation,

including any “duress” event, has occurred under the terms of a foreign trust agreement until

such time that all Stipulating Defendants’ Assets have been fully repatriated pursuant to this

Order;

         B.     Notifying any trustee, protector or other agent of any foreign trust or other related

entities of either the existence of this Order, or of the fact that repatriation is required pursuant to

a court order, until such time that all Stipulating Defendants’ Assets have been fully repatriated

pursuant to this Order; and

         C.     Notifying any person or entity of this Order or of anything related to this Order

that causes any person or entity holding Assets that must be repatriated pursuant to this Order to

interfere with or prevent such repatriation.

                            IX.     CONSUMER CREDIT REPORTS

         IT IS FURTHER ORDERED that the FTC may obtain credit reports concerning any

Stipulating Defendant or Stipulating Relief Defendants pursuant to Section 604(a)(1) of the Fair

                                                  17
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 18 of 77



Credit Reporting Act, 15 U.S.C. 1681b(a)(1), and that, upon written request, any credit reporting

agency from which such reports are requested shall provide them to Plaintiff.

                           X.      PRESERVATION OF RECORDS

       IT IS FURTHER ORDERED that Stipulating Defendants, and Stipulating Defendants’

officers, agents, employees, and attorneys, and all other persons in active concert or participation

with any of them, who receive actual notice of this Order, whether acting directly or indirectly,

are temporarily restrained and enjoined from:

       A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

relate to: (1) the business, business practices, Assets, or business or personal finances of any

Receivership Entity or Defendant; (2) the business practices or finances of entities directly or

indirectly under the control of any Receivership Entity or Defendant; or (3) the business

practices or finances of entities directly or indirectly under common control with any other

Receivership Entity, Individual Defendants, or Relief Defendant; and

       B.      Failing to create and maintain Documents that, in reasonable detail, accurately,

fairly, and completely reflect Stipulating Defendants’ income, disbursements, transactions, and

use of Stipulating Defendants’ Assets.

                          XI.     REPORTS OF NEW ACTIVITIES

       IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating Relief

Defendants, and their officers, agents, employees, and attorneys, and all other persons in active

concert or participation with any of them, who receive actual notice of this Order, whether acting

directly or indirectly, are hereby temporarily restrained and enjoined from:




                                                 18
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 19 of 77



        A.      For Stipulating Defendants, failing to maintain Documents that, in reasonable

detail, accurately, fairly, and completely reflect their incomes, disbursements, transactions, and

use of money;

        B.      For Stipulating Defendants, creating, operating, or exercising any control over

any business entity, whether newly formed or previously inactive, including any partnership,

limited partnership, joint venture, sole proprietorship, or corporation, without first providing

Plaintiff’s counsel and the Receiver with a written statement, sworn to under penalty of perjury,

disclosing: (1) the name of the business entity; (2) the address and telephone number of the

business entity; (3) the names of the business entity’s officers, directors, principals, managers,

and employees; and (4) a detailed description of the business entity’s intended activities;

        C.      For Stipulating Defendants, affiliating with, becoming employed by, or

performing any work for, or directly or indirectly receiving any compensation from any person

or entity (including, without limitation, any purportedly “nonprofit” entity) without first

providing the Commission with a written statement, sworn to under penalty of perjury,

disclosing: (1) the name of the person or entity; (2) the address and telephone number of the

business or person; (3) if an entity, its registered agent (4) if an entity, the names of its officers,

directors, principals, and managers; (4) which, if any, of the other Defendants or Relief

Defendants are in any way related to the entity or person, including the nature of that

relationship; (5) a detailed description of the person or entity’s activities and intended activities;

and (6) a detailed description of the Stipulating Defendant’s services for the person or entity.

        D.      For Stipulating Defendants and Stipulating Relief Defendants who are natural

persons, failing to provide a written statement, sworn to under penalty of perjury, within five (5)

days of any change in residence, physical address, phone number, email address, or other contact



                                                   19
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 20 of 77



information, disclosing: (1) all current residences; (2) all current mail boxes or other physical

addresses; (3) all current telephone numbers; (4) all current email addresses; and (5) at least one

reasonable means of contact (such as through counsel) through which the Stipulating Defendant

or Stipulating Relief Defendants agrees to accept service of process and receive filings or other

legal documents.

      XII.    INTERNATIONAL TRAVEL RESTRICTIONS AND SURRENDER OF
                          PASSPORTS—WRITS NE EXEAT

       IT IS FURTHER ORDERED that Stipulating Defendant Frank Costanzo:

       A.      Not leave the United States without Court approval; and

       B.      To the extent not already done, surrender immediately his passport(s) (whether

issued by the United States or any other country), and any other documents that would permit

international travel, to the custody of the Receiver.

       C.      Any and all law enforcement authorities shall be authorized to enforce this order,

including but not limited to preventing any departure from the United States and confiscating any

passports. If any such law enforcement authority confiscates a passport, it shall turn over the

passport to the Receiver, either directly or through an intermediary.

             XIII. THIRD PARTY INTERNATIONAL TRAVEL PROVIDERS

       IT IS FURTHER ORDERED that any common carrier or other company providing

international transportation services or facilitating such services shall not, without Court

approval:

       A.      Permit Stipulating Defendant Frank Costanzo to travel internationally;

       B.      Take any action that would cause any common carrier or other company

providing international transportation services to issue a ticket or other contract for international




                                                 20
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 21 of 77



travel to Frank Costanzo (such as providing booking or agency services, whether online or

otherwise); and

       D.      Fail to notify the FTC immediately if Stipulating Defendant Frank Costanzo

books, or attempt to books, international travel or leave, or attempts to leave, the United States.

                                      XIV. TAMPERING


       IT IS FURTHER ORDERED that Stipulating Defendants and their officers, agents,

employees, and attorneys, and all other persons in active concert or participation with any of

them, who receive actual notice of this Order, whether acting directly or indirectly, are hereby

temporarily restrained and enjoined from, in the course of this proceeding:

               Using or attempting to use force, the threat of force, or payment to influence,

               delay, or prevent the testimony of any person,

               Causing or inducing, or attempting to cause or induce, any person to:

               withhold testimony, or withhold a Document or other object;

               1.      alter, destroy, mutilate, or conceal any Document or other object with

                       intent to impair the integrity or availability of the item;

               2.      evade legal process summoning that person to appear as a witness, or to

                       produce Document(s) or other object(s); or

               3.      be absent from an official proceeding to which that person has been

                       summoned by legal process.

                                        XV.     RECEIVER

       IT IS FURTHER ORDERED that Robb Evans & Associates LLC shall continue to

serve as Receiver of the Stipulating Receivership Entities with full powers of an equity receiver.

The Receiver shall be solely the agent of this Court in acting as Receiver under this Order.


                                                 21
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 22 of 77



                     XVI. DUTIES AND AUTHORITY OF RECEIVER

       IT IS FURTHER ORDERED that the Receiver is directed and authorized to

accomplish the following:

       A.      Assume full control of Stipulating Receivership Entities by removing, as the

Receiver deems necessary or advisable, any director, officer, independent contractor, employee,

attorney, or agent of any Stipulating Receivership Entity from control of, management of, or

participation in, the affairs of the Stipulating Receivership Entity;

       B.      Take exclusive custody, control, and possession of all Assets and Documents of,

or in the possession, custody, or under the control of, any Stipulating Receivership Entity,

wherever situated. The Receiver shall take control over all such Documents and Assets as soon

as practicable, including all Documents stored with Electronic Data Host providers;

       C.      Take exclusive custody, control, and possession of all office suites or business

locations with leases in the name of any Stipulating Receivership Entity, including, but not

limited to, 3333 Michelson Drive, Irvine, California, Suite 500 (“Receivership Premises”). For

clarity, the Receiver’s custody, control, and possession will be exclusive for this Order’s

duration, notwithstanding any claims by an individual or entity that may also be occupying

Receivership Premises that they are not Defendants, Receivership Entities, or are otherwise

unrelated to the Receivership Entities. The Receiver’s custody, control, and possession shall

include all Documents at Receivership Premises until further order from the Court;

       D.      Conserve, hold, manage, and prevent the loss of all Assets of the receivership

estate, and perform all acts necessary or advisable to preserve the value of those Assets. The

Receiver shall assume control over the income and profits therefrom and all sums of money now

or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

for, collect, and receive, all Assets of the receivership estate and of other persons or entities
                                                  22
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 23 of 77



whose interests are now under the direction, possession, custody, or control of, the Receivership

Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

consumer if the Receiver believes the consumer’s debt to the Receivership Entities has resulted

from the deceptive acts or practices or other violations of law alleged in the Amended Complaint

in this matter, without prior Court approval;

       E.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

Receivership Entities and perform all acts necessary or advisable to preserve such Documents.

The Receiver shall: divert mail; preserve all Receivership Documents that are accessible via

electronic means (such as online access to financial accounts) and access to electronic documents

held onsite or by Electronic Data Hosts, by changing usernames, passwords or other log-in

credentials; take possession of all electronic Receivership Documents stored onsite or remotely;

take whatever steps necessary to preserve all such Documents; and obtain the assistance of the

FTC’s Digital Forensic Unit for the purpose of obtaining electronic documents stored onsite or

remotely. In particular, the Receiver shall take all steps necessary to obtain copies of the

Defendants’ business email accounts, including those of any of its employees, whether that

information is stored onsite or offsite.

       F.      Choose, engage, and employ attorneys, accountants, appraisers, and other

independent contractors and technical specialists, as the Receiver deems advisable or necessary

in the performance of duties and responsibilities under the authority granted by this Order;

       G.      Make payments and disbursements from the receivership estate that are necessary

or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

and to incur, or authorize the making of, such agreements as may be necessary and advisable in

discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior



                                                 23
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 24 of 77



approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

the date of entry of this Order, except payments that the Receiver deems necessary or advisable

to secure Assets of the Receivership Entities, such as rental payments;

       H.      Take all steps necessary to secure and take exclusive custody of each location

from which the Receivership Entities operate their businesses. Such steps may include, but are

not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

the location by changing the locks and alarm codes and disconnecting any internet access or

other means of access to the computers, servers, internal networks, or other records maintained at

that location; and (2) requiring any persons present at the location to leave the premises, to

provide the Receiver with proof of identification, and/or to demonstrate to the satisfaction of the

Receiver that such persons are not removing from the premises Documents or Assets of the

Receivership Entities. Law enforcement personnel, including, but not limited to, police or

sheriffs, may assist the Receiver in implementing these provisions in order to keep the peace and

maintain security. If requested by the Receiver, they may provide appropriate and necessary

assistance to the Receiver to implement this Order and are authorized to use any necessary and

reasonable force to do so;

       I.      Take all steps necessary to prevent the modification, destruction, or erasure of any

web page or website registered to and operated, in whole or in part, by any Defendants, and to

provide access to all such web page or websites to Plaintiff’s representatives, agents, and

assistants, as well as Defendants and their representatives;

       J.      Enter into and cancel contracts and purchase insurance as advisable or necessary;

       K.      Prevent the inequitable distribution of Assets and determine, adjust, and protect

the interests of consumers who have transacted business with the Receivership Entities;



                                                 24
           Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 25 of 77



           L.   Make an accounting, as soon as practicable, of the Assets and financial condition

of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

           M.   Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

otherwise become party to any legal action in state, federal or foreign courts or arbitration

proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

the Receivership Entities, or to carry out the Receiver’s mandate under this Order, including but

not limited to, actions challenging fraudulent or voidable transfers;

           N.   Demand from any person or entity Documents and records pertaining to the

Receivership within three (3) days after delivery of the Order by mail, courier, email, or other

method by which the recipient receives a copy of this Order, in addition to obtaining other

discovery as set forth in this Order;

           O.   Open one or more bank accounts at designated depositories for funds of the

receivership estate. The Receiver shall deposit all funds of the receivership estate in such

designated accounts and shall make all payments and disbursements from the receivership estate

from such accounts. The Receiver shall serve copies of monthly account statements on all

parties;

           P.   Maintain accurate records of all receipts and expenditures incurred as Receiver;

           Q.   Allow the FTC’s representatives, agents, and assistants, as well as Defendants’

representatives and Defendants themselves, reasonable access to the premises of the

Receivership Entities, or any other premises where the Receivership Entities conduct business.

The purpose of this access shall be to inspect and copy any and all books, records, Documents,

accounts, and other property owned by, or in the possession of, the Receivership Entities or their




                                                 25
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 26 of 77



agents. The Receiver shall have the discretion to determine the time, manner, and reasonable

conditions of such access;

       R.      Allow the FTC’s representatives, agents, and assistants, as well as Defendants and

their representatives reasonable access to all Documents in the possession, custody, or control of

the Receivership Entities or otherwise obtained from any Individual Defendants;

       S.      Cooperate with reasonable requests for information or assistance from any state or

federal civil or criminal law enforcement agency;

       T.      Suspend business operations of the Receivership Entities if in the judgment of the

Receiver such operations cannot be continued legally and profitably; and

       U.      If in the Receiver’s judgment the business operations cannot be continued legally

and profitably, take all steps necessary to ensure that any of the Receivership Entities’ web pages

or websites relating to the activities alleged in the Amended Complaint cannot be accessed by

the public, or are modified for consumer education and/or informational purposes, and take all

steps necessary to ensure that any telephone numbers associated with the Receivership Entities

cannot be accessed by the public, or are answered solely to provide consumer education or

information regarding the status of operations.

                                 XVII. RECEIVER’S REPORT

       IT IS FURTHER ORDERED that the Receiver shall report to this Court periodically

regarding: (1) the steps taken by the Receiver to implement the terms of this Order; (2) the value

of all liquidated and unliquidated Assets of the receivership estate; (3) the sum of all liabilities of

the Receivership Entities; (4) the steps the Receiver intends to take in the future to: (a) prevent

any diminution in the value of Assets of the receivership estate; (b) pursue receivership estate

Assets from third parties; and (c) adjust the liabilities of the Receivership Entities, if appropriate;

and (5) any other matters which the Receiver believes should be brought to the Court’s attention.
                                                  26
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 27 of 77



Provided, however, if any of the required information would hinder the Receiver’s ability to

pursue receivership Assets, the portions of the Receiver’s report containing such information

may be redacted and be filed for the Court’s benefit under seal without service on the parties.

            XVIII. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

       IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating Relief

Defendants and any other person with possession, custody or control of property of, or records

relating to, the Receivership Entities, or otherwise related to Assets held by or for the benefit of

Individual Defendants Andris Pukke and Peter Baker, shall, upon notice of this Order, fully

cooperate with and assist the Receiver in taking and maintaining possession, custody, or control

of the Assets and Documents of the receivership estate and immediately transfer or deliver to the

Receiver possession, custody, and control of, the following:

       A.      All Assets held by or for the benefit of the Receivership Entities;

       B.      All Assets held by or for the benefit of Individual Defendants Andris Pukke and

Peter Baker that the Receiver values at more than $1,000.00, including, but not limited to, the

residence located at 104 King’s Place, Newport Beach, CA;

       C.      All Documents of or pertaining to the Receivership Entities;

       D.      All Documents related to the receivership estate Assets derived from Individual

Defendants Andris Pukke and Peter Baker;

       E.      All computers, electronic devices, smartwatches, smartphones, tablets, other

mobile devices, and machines within Receivership Premises that either (1) contain Receivership

Entity business records or are used to conduct Receivership Entity business, or (2) are on the

person of, or within the control of, any Individual Defendant or natural person Relief Defendant

who is present in the Receivership Premises; provided, however, that these devices shall be

forensically imaged (with the data provided to the FTC as soon as possible) and then returned
                                                 27
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 28 of 77



within three business days. The Receiver may rely on the FTC to complete any such forensic

imaging.

       F.      All computers, electronic devices, smartwatches, smartphones, tablets, other

mobile devices, other machines, and machines used by Individual Defendants Andris Pukke and

Peter Baker. Provided, however, that these devices shall be forensically imaged (with the data

provided to the FTC as soon as possible) and then returned to the Individual Defendants within 3

business days. The Receiver may rely on the FTC to complete any such forensic imaging;

       G.      All emails, instant messages, or other digital communications sent or received by

any Receivership Entity or employee or agent of the Receivership Entity in its business capacity,

as determined by the Receiver;

       H.      All emails, instant messages, or other digital communications not covered by

Paragraph G., sent or received by Andris Pukke or Peter Baker;

       I.      All Assets and Documents belonging to other persons or entities whose interests

are under the direction, possession, custody, or control of the Receivership Entities or Individual

Defendants Andris Pukke or Peter Baker;

       J.      All keys, codes, user names and passwords necessary to gain or to secure access

to any Assets or Documents within the receivership estate, including access to their physical

premises, means of communication, accounts, computer systems (onsite and remote), Electronic

Data Hosts, or other property. Regarding digital Assets such as digital currencies, virtual

currencies, and cryptocurrencies, this includes providing the Receiver with all means necessary

to take control over such currencies, including any such digital wallet and cryptographic keys

used to access such Assets;




                                                28
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 29 of 77



       Provided, the Receivership estate does not contain lots or interests in lots owned or

controlled by a consumer unaffiliated with Defendants or Relief Defendants, or any other Asset

owned or controlled by a consumer unaffiliated with Defendants or Relief Defendants.

       In the event that any person or entity fails to deliver or transfer any Asset or Document,

or otherwise fails to comply with any provision of this Section, the Receiver may file an

Affidavit of Non-Compliance regarding the failure and a motion seeking compliance or a

contempt citation.

                 XIX. PROVISION OF INFORMATION TO RECEIVER

       IT IS FURTHER ORDERED that to the extent not already completed pursuant to the

TRO, Stipulating Defendants and Stipulating Relief Defendants shall immediately provide to the

Receiver:

       A.      A list of all Assets, including accounts, of the Receivership Entities, wherever

they may be situated and whoever they may be held by, including, but not limited to, all such

accounts that are held in any name other than the name of a Receivership Entity, or by any

person or entity other than a Receivership Entity;

       B.      A list of all Assets, including accounts, of Individual Defendants Andris Pukke or

Peter Baker, wherever they may be situated and whoever they may be held by, including, but not

limited to, all such accounts that are held in any name other than that of Individual Defendants

Andris Pukke or Peter Baker;

       C.      A list of all agents, employees, officers, attorneys, servants and those persons in

active concert and participation with the Receivership Entities, or who have been associated or

done business with the Receivership Entities; and

       D.      A description of any Receivership Documents covered by attorney-client

privilege or attorney work product, including files where such documents are likely to be located,
                                                29
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 30 of 77



authors or recipients of such documents, and search terms likely to identify such electronic

documents.

                      XX.     COOPERATION WITH THE RECEIVER

        IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating Relief

Defendants and their officers, agents, employees, and attorneys, all other persons in active

concert or participation with any of them, and any other person with possession, custody, or

control of property or of records relating to the Receivership Entities or otherwise within the

receivership estate, who receive actual notice of this Order, shall fully cooperate with and assist

the Receiver. This cooperation and assistance shall include, but is not limited to, providing

information to the Receiver that the Receiver deems necessary to exercise the authority and

discharge the responsibilities of the Receiver under this Order; providing any keys, codes, user

names and passwords required to access any computers, electronic devices, smartwatches,

smartphones, tablets, other mobile devices, other machines (onsite or remotely), and any cloud

account (including specific methods to access accounts) or electronic file in any medium;

advising all persons who owe money to any Receivership Entity or Individual Defendants Andris

Pukke and Peter Baker that all such debts should be paid directly to the Receiver; and

transferring funds at the Receiver’s direction and producing records related to the Assets and

sales of the Receivership Entities.

                  XXI. NON-INTERFERENCE WITH THE RECEIVER

        IT IS FURTHER ORDERED that Stipulating Defendants and Stipulating Relief

Defendants, and their officers, agents, employees, attorneys, and all other persons in active

concert or participation with any of them, who receive actual notice of this Order, and any other

person served with a copy of this Order, are hereby restrained and enjoined from directly or

indirectly:

                                                 30
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 31 of 77



       A.      Interfering with the Receiver’s efforts to manage, or take custody, control, or

possession of, the Assets or Documents subject to the receivership;

       B.      Transacting any of the business of the Receivership Entities;

       C.      Transferring, receiving, altering, selling, encumbering, pledging, assigning,

liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

custody of, or in which an interest is held or claimed by, the Receivership Entities; or

       D.      Refusing to cooperate with the Receiver or the Receiver’s duly authorized agents

in the exercise of their duties or authority under any order of this Court.

                                   XXII. STAY OF ACTIONS

       IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

of the receivership ordered herein, Stipulating Defendants and Stipulating Relief Defendants, and

their officers, agents, employees, attorneys, and all other persons in active concert or

participation with any of them, who receive actual notice of this Order, and their corporations,

subsidiaries, divisions, or affiliates, and all investors, creditors, stockholders, lessors, customers

and other persons seeking to establish or enforce any claim, right, or interest against or on behalf

of Stipulating Defendants or Stipulating Relief Defendants, and all others acting for or on behalf

of such persons, are hereby enjoined from taking any action that would interfere with the

exclusive jurisdiction of this Court over the Assets or Documents within the receivership,

including, but not limited to:

       A.      Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of any of the

Receivership Entities;

       B.      Commencing, prosecuting, or continuing a judicial, administrative, or other action

or proceeding against the Receivership Entities, including the issuance or employment of process
                                                  31
         Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 32 of 77



against the Receivership Entities, except that such actions may be commenced if necessary to toll

any applicable statute of limitations;

         C.    Filing or enforcing any lien on any Asset of the receivership estate, taking or

attempting to take possession, custody, or control of any Asset of the receivership estate; or

attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the receivership

estate, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise. For

clarity, as described in detail in this Order, the Assets of the receivership estate include all Assets

of the Receivership Entities as well as all Assets of Andris Pukke and Peter Baker that the

receiver values at $1,000.00 or more.

Provided, however, that this Order does not stay: (1) the commencement or continuation of a

criminal action or proceeding; (2) the commencement or continuation of an action or proceeding

by a governmental unit to enforce such governmental unit’s police or regulatory power; or (3)

the enforcement of a judgment, other than a money judgment, obtained in an action or

proceeding by a governmental unit to enforce such governmental unit’s police or regulatory

power.

                           XXIII. COMPENSATION OF RECEIVER

         IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

as herein authorized, including counsel to the Receiver and accountants, are entitled to

reasonable compensation for the performance of duties pursuant to this Order and for the cost of

actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

or control of, or which may be received by, the receivership estate. The Receiver shall file with

the Court and serve on the parties periodic requests for the payment of such reasonable

compensation. The first such request shall be filed no more than sixty (60) days after the date of

entry of this Order, unless the Court enters a further order expanding the permanent receivership
                                                  32
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 33 of 77



in this case. In that event, the Receiver shall file requests in accordance with that later order.

The Receiver shall not increase the hourly rates used as the bases for such fee applications

without prior approval of the Court.

         XXIV. DISTRIBUTION OF ORDER BY STIPULATING DEFENDANTS

       IT IS FURTHER ORDERED that Stipulating Defendants shall immediately provide a

copy of this Order to each affiliate, telemarketer, marketer, sales entity, successor, assign,

member, officer, director, employee, agent, independent contractor, client, attorney, spouse,

subsidiary, division, and representative of any Stipulating Defendant, and shall, within ten (10)

days from the date of entry of this Order, provide the FTC and the Receiver with a sworn

statement that this provision of the Order has been satisfied, which statement shall include the

names, physical addresses, phone numbers, and email addresses of each such person or entity

who received a copy of the Order. Furthermore, Stipulating Defendants shall not take any action

that would encourage officers, agents, members, directors, employees, salespersons, independent

contractors, attorneys, subsidiaries, affiliates, successors, assigns or other persons or entities in

active concert or participation with them to disregard this Order or believe that they are not

bound by its provisions.

                               XXV. EXPEDITED DISCOVERY

       IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45, the FTC and

the Receiver are granted leave, at any time after service of this Order, to conduct limited

expedited discovery for the purpose of discovering: (1) the nature, location, status, and extent of

Stipulating Defendants’ and Stipulating Relief Defendants’ Assets; (2) the nature, location, status

and extent of Stipulating Defendants’ and Stipulating Relief Defendants’ business records; or (4)



                                                  33
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 34 of 77



compliance with this Order. The limited expedited discovery set forth in this Section shall

proceed as follows:

       A.      The FTC and the Receiver may take the deposition of parties and non-parties.

Forty-eight (48) hours’ notice shall be sufficient notice for such depositions. The limitations and

conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal Rules of Civil Procedure

regarding subsequent depositions of an individual shall not apply to depositions taken pursuant

to this Section. Any such deposition taken pursuant to this Section shall not be counted towards

the deposition limit set forth in Rules 30(a)(2)(A) and 31(a)(2)(A) and depositions may be taken

by telephone or other remote electronic means. The FTC may require that any such depositions

take place behind a U.S. government security perimeter, such as within a government office;

       B.      The FTC and the Receiver may serve upon parties requests for production of

Documents or inspection that require production or inspection within five (5) days of service,

provided, however, that three (3) days of notice shall be deemed sufficient for the production of

any such Documents that are maintained or stored only in an electronic format;

       C.      The FTC and the Receiver may serve upon parties interrogatories that require a

response within five (5) days after service;

       D.      The FTC and the Receiver may serve subpoenas upon non-parties that direct

production or inspection within five (5) days after service;

       E.      Service of discovery upon a party to this action, taken pursuant to this Section,

shall be sufficient if made by facsimile, email, or by overnight delivery;

       F.      Any expedited discovery taken pursuant to this Section is in addition to, and is not

subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

Rules of this Court. The expedited discovery permitted by this Section does not require a



                                                34
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 35 of 77



meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the Federal Rules of Civil

Procedure;

       G.      The Parties are exempted from making initial disclosures under Fed. R. Civ. P.

26(a)(1) until further order of this Court; and

       H.      The Parties shall treat all documents containing personal identifying information

(“PII”) of any individual as “attorney’s eyes only.” Although a name alone shall not constitute

PII, a name along with a full residential address or phone number shall constitute PII.

Furthermore, PII shall include any individual’s social security number, tax identification number,

driver’s license number, sensitive health information, or financial account number. Such

information shall not be made public and shall only be shared directly with a party if that party is

unrepresented in this matter.

            XXVI. EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

       IT IS FURTHER ORDERED that each of the Stipulating Defendants and Stipulating

Relief Defendants shall have until March 18, 2019, to file responsive pleadings to the FTC’s

Amended Complaint.

                          XXVII.          SERVICE OF THIS ORDER

       IT IS FURTHER ORDERED that copies of this Order may be served by any means,

including facsimile transmission, electronic mail or other electronic messaging, personal or

overnight delivery, U.S. Mail or FedEx, by agents and employees of Plaintiff, by any law

enforcement agency, or by private process server, upon any Stipulating Defendant, Stipulating

Relief Defendant, or any person (including any financial institution) that may have possession,

custody or control of any Asset or Document of any Stipulating Defendant or Stipulating Relief

Defendant, or that may be subject to any provision of this Order pursuant to Rule 65(d)(2) of the



                                                  35
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 36 of 77



Federal Rules of Civil Procedure. For purposes of this Section, service upon any branch,

subsidiary, affiliate or office of any entity shall effect service upon the entire entity.

           XXVIII.         CORRESPONDENCE AND SERVICE ON PLAINTIFF

        IT IS FURTHER ORDERED that, all correspondence, filings, or other documents

related to this Order or the FTC’s Amended Complaint in this matter shall be served upon the

FTC by serving them upon Jonathan Cohen, Benjamin J. Theisman, Amanda B. Kostner, and

Khouryanna DiPrima via email, at jcohen2@ftc.gov, btheisman@ftc.gov, akostner@ftc.gov, and

kdiprima@ftc.gov regardless of whether such correspondence or other documents are or may be

served upon the FTC via the Court’s ECF system or another way; however, if email is

unavailable or impractical, such documents may be served via overnight delivery to Jonathan

Cohen, Benjamin J. Theisman, Amanda B. Kostner, and Khouryanna DiPrima at Federal Trade

Commission, 600 Pennsylvania Ave NW, CC 9528, Washington, DC 20580.

                            XXIX. RETENTION OF JURISDICTION

        IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

all purposes.

        SO ORDERED, this _________ day of ________________, 20__.


                                                        _________________________________
                                                        UNITED STATES DISTRICT JUDGE


SO STIPULATED AND AGREED:

FOR THE FEDERAL TRADE COMMISSION:


_/s/ Benjamin J. Theisman_____________                  February 7, 2019_
Jonathan Cohen (jcohen2@ftc.gov)                        Date
Benjamin J. Theisman (btheisman@ftc.gov)
Amanda B. Kostner (akostner@ftc.gov)
Khouryanna DiPrima (kdiprima@ftc.gov)
Federal Trade Commission

                                                   36
     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 37 of 77




600 Pennsylvania Ave., N.W., CC-9528
Washington, DC 20580
202-326-2551 (Cohen); -2223 (Theisman);
-2880 (Kastner); -2029 (DiPrima);
-3197 (facsimile)


FOR ROD KAZAZI:

                                                   2-l~lt:)
Davi Wi                                          Date
Law 0 c fDavid W. Wiechert
2713     seo Espada
Bldg. B, Ste 1123
San Juan Capistrano, CA 92675
(949) 361-2822

Counsel for Rod Kazazi



FOR FOUNDATION PARTNERS:


                                                  February 6, 2019
Rod Kazazi                                       Date
An Officer of Foundation Partners


FOR BRANDI GREENFIELD AND BG MARKETING LLC:



Brandi Greenfield                                Date
Individually and as an officer of
BG Marketing LLC



Michael J. King, not admitted in Maryland        Date
Winters & King, Inc.
CityPlex Towers Suite 5900
2448 East 81 st Street
Tulsa, Oklahoma 74137
(918) 494-6868

Counsel for Brandi Greef!field and
BG Marketing LLC


                                            37
Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 38 of 77
Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 39 of 77
Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 40 of 77
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 41 of 77



FOR FRANK COSTANZO:


________________________________           ______________
Frank Costanzo, pro se                     Date


FOR DEBORAH CONNELLY AND ECOLOGICAL FOX LLC:


________________________________           ______________
Deborah Connelly                           Date
Individually and as on officer of
Ecological Fox LLC


FOR MICHAEL SANTOS:


________________________________           _______________
Jennifer A. Short                          Date
Courtney R. Forrest
KaiserDillon PLLC
1401 K Street NW, Suite 600
Washington, DC 20005
(202) 640-2850

Counsel for Michael Santos


FOR ANGELA CHITTENDEN AND BEACH BUNNY HOLDINGS LLC:


_/s/ Peter Hardin__________________        February 8, 2019_
Joshua M. Robbins                          Date
Peter Hardin
Greenberg Gross LLP
650 Town Center Drive, Suite 1700
Costa Mesa, CA 92626
(949) 383-2800

Counsel for Angela Chittenden and
Beach Bunny Holdings LLC




                                      38
                 Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 42 of 77
                                              FEDERAL TRADE COMMISSION

                                 FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

Definitions and Instructions:

    1. Complete all items. Enter “None” or “N/A” (“Not Applicable”) in the first field only of any item that does not apply
       to you. If you cannot fully answer a question, explain why.

    2. “Dependents” include your spouse, live-in companion, dependent children, or any other person, whom you or your
       spouse (or your children’s other parent) claimed or could have claimed as a dependent for tax purposes at any
       time during the past five years.

    3. “Assets” and “Liabilities” include ALL assets and liabilities, located within the United States or any foreign country
       or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
       by others for the benefit of you, your spouse, or your dependents.

    4. Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
       being continued. On the continuation page(s), identify the Item number(s) being continued.

    5. Type or print legibly.

    6. Initial each page in the space provided in the lower right corner.

    7. Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

          (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any ( . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information . . . knowing the same to contain any false material
declaration” (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




                                                                     Federal Trade Commission Financial Statement of Individual Defendant

                                                        Attachment A to TRO
                     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 43 of 77
                                       BACKGROUND INFORMATION
Item 1. Information About You
Full Name                                                                   Social Security No.

Current Address of Primary Residence                                        Driver’s License No.                                            State Issued

                                                                            Phone Numbers                    Date of Birth:   /   /
                                                                            Home: (   )                                    (mm/dd/yyyy)
                                                                            Fax: (    )                      Place of Birth

   Rent      Own             From (Date):      /   /                        E-Mail Address
                                            (mm/dd/yyyy)
Internet Home Page


Previous Addresses for past five years (if required, use additional pages at end of form)
Address                                                                                              From:      /   /              Until:      /   /
                                                                                                             (mm/dd/yyyy)                   (mm/dd/yyyy)

                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Address                                                                                              From:       /    /           Until:      /   /


                                                                                                         Rent        Own
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


Item 2. Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                     Social Security No.                  Date of Birth
                                                                                                                    /   /
                                                                                                                 (mm/dd/yyyy)
Address (if different from yours)                                           Phone Number                         Place of Birth
                                                                            (     )
                                                                                Rent    Own               From (Date):   /   /
                                                                                                                      (mm/dd/yyyy)
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer’s Name and Address                                                 Job Title

                                                                            Years in Present Job     Annual Gross Salary/Wages
                                                                                                     $


Item 3. Information About Your Previous Spouse
Name and Address                                                                                     Social Security No.

                                                                                                     Date of Birth
                                                                                                        /    /
                                                                                                     (mm/dd/yyyy)

Item 4. Contact Information (name and address of closest living relative other than your spouse)
Name and Address                                                                                     Phone Number
                                                                                                     (     )




                                                                                                                                               Initials:

                                                                  1 of 10        Federal Trade Commission Financial Statement of Individual Defendant

                                                                 Attachment A to TRO
                      Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 44 of 77

Item 5. Information About Dependents (whether or not they reside with you)
Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship

Name and Address                                                               Social Security No.                   Date of Birth
                                                                                                                        /    /
                                                                                                                     (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Name and Address                                                                                                         Date of Birth
                                                                               Social Security No.
                                                                                                                            /    /
                                                                                                                         (mm/dd/yyyy)
                                                                               Relationship


Item 6. Employment Information/Employment Income
Provide the following information for this year-to-date and for each of the previous five full years, for each business entity of which you were a director,
officer, member, partner, employee (including self-employment), agent, owner, shareholder, contractor, participant or consultant at any time during that
period. “Income” includes, but is not limited to, any salary, commissions, distributions, draws, consulting fees, loans, loan payments, dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /
                                                                                                                    20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $
Company Name and Address                                                           Dates Employed                   Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                    Year                   Income
                                                                   From (Month/Year)          To (Month/Year)
                                                                          /                         /               20                     $
Ownership Interest?       Yes     No                                                                                                       $
Positions Held                                                     From (Month/Year)          To (Month/Year)                              $
                                                                          /                         /                                      $
                                                                           /                         /                                     $
                                                                           /                         /                                     $



                                                                                                                                           Initials:

                                                                    2 of 10        Federal Trade Commission Financial Statement of Individual Defendant

                                                                   Attachment A to TRO
                     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 45 of 77
Item 7. Pending Lawsuits Filed By or Against You or Your Spouse
List all pending lawsuits that have been filed by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country or territory. Note: At Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.
                                                                                                     Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location           Case No.                                 Relief Requested
                                                                                                    Proceeding                                       Disposition




Item 8. Safe Deposit Boxes
List all safe deposit boxes, located within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents.
         Name of Owner(s)                         Name & Address of Depository Institution                    Box No.                      Contents




                                                                                                                                              Initials:

                                                                      3 of 10      Federal Trade Commission Financial Statement of Individual Defendant

                                                                     Attachment A to TRO
                     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 46 of 77
                                                         FINANCIAL INFORMATION
REMINDER: When an item asks for information regarding your “assets” and “liabilities” include ALL assets and liabilities, located within
the United States or in any foreign country or territory, or institution, whether held individually or jointly, and whether held by you, your
spouse, or any of your dependents, or held by others for the benefit of you, your spouse, or any of your dependents. In addition, provide
all documents requested in Item 24 with your completed Financial Statement.
                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts, or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term “cash on hand” includes but is not
limited to cash in the form of currency, uncashed checks, and money orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                         Account No.                     Current Balance

                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




                                                                                                                                           $




Item 10. Publicly Traded Securities
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, U.S. government securities (including
but not limited to treasury bills and treasury notes), and state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security        No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




                                                                                                                                               Initials:

                                                                     4 of 10      Federal Trade Commission Financial Statement of Individual Defendant

                                                                    Attachment A to TRO
                     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 47 of 77
Item 11. Non-Public Business and Financial Interests
List all non-public business and financial interests, including but not limited to any interest in a non-public corporation, subchapter-S corporation, limited
liability corporation (“LLC”), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
corporation, and oil or mineral lease.
                                                        Type of Business or Financial               Owner              Ownership     If Officer, Director, Member
            Entity’s Name & Address
                                                       Interest (e.g., LLC, partnership)     (e.g., self, spouse)         %             or Partner, Exact Title




Item 12. Amounts Owed to You, Your Spouse, or Your Dependents
Debtor’s Name & Address                                  Date Obligation          Original Amount Owed         Nature of Obligation (if the result of a final court
                                                      Incurred (Month/Year)      $                             judgment or settlement, provide court name
                                                                /                                              and docket number)
                                                      Current Amount Owed        Payment Schedule
                                                      $                          $
Debtor’s Telephone                                    Debtor’s Relationship to You


Debtor’s Name & Address                                   Date Obligation          Original Amount Owed        Nature of Obligation (if the result of a final court
                                                       Incurred (Month/Year)       $                           judgment or settlement, provide court name
                                                                 /                                             and docket number)
                                                      Current Amount Owed          Payment Schedule
                                                      $                            $
Debtor’s Telephone                                    Debtor’s Relationship to You


Item 13. Life Insurance Policies
List all life insurance policies (including endowment policies) with any cash surrender value.
Insurance Company’s Name, Address, & Telephone No.                    Beneficiary                                   Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Insurance Company’s Name, Address, & Telephone No.                   Beneficiary                                    Policy No.             Face Value
                                                                                                                                           $
                                                                     Insured                                        Loans Against Policy   Surrender Value
                                                                                                                    $                      $

Item 14. Deferred Income Arrangements
List all deferred income arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401(k) plans, IRAs, Keoghs,
other retirement accounts, and college savings plans (e.g., 529 Plans).
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.


                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                   (mm/dd/yyyy)                                    $
Trustee or Administrator’s Name, Address & Telephone No.                           Name on Account                               Account No.

                                                                                   Date Established      Type of Plan              Surrender Value before
                                                                                     /    /                                        Taxes and Penalties
                                                                                                                                   $



                                                                                                                                               Initials:

                                                                     5 of 10        Federal Trade Commission Financial Statement of Individual Defendant

                                                                    Attachment A to TRO
                     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 48 of 77
Item 15. Pending Insurance Payments or Inheritances
List any pending insurance payments or inheritances owed to you.
Type                                                                                                      Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                      $                           /     /
                                                                                                      $                           /     /
                                                                                                      $                           /     /

Item 16. Vehicles
List all cars, trucks, motorcycles, boats, airplanes, and other vehicles.
Vehicle Type        Year            Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price                     Original Loan Amount       Current Balance
                                                                        $                                  $                          $
Make                                Registration State & No.            Account/Loan No.                   Current Value              Monthly Payment
                                                                                                           $                          $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Vehicle Type      Year              Registered Owner’s Name             Purchase Price              Original Loan Amount          Current Balance
                                                                        $                           $                             $
Make                                Registration State & No.            Account/Loan No.            Current Value                 Monthly Payment
                                                                                                    $                             $
Model                               Address of Vehicle’s Location       Lender’s Name and Address




Item 17. Other Personal Property
List all other personal property not listed in Items 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstones, jewelry, bullion, other collectibles, copyrights, patents, and other intellectual property.

   Property Category
                                      Name of Owner                             Property Location                   Acquisition Cost             Current Value
 (e.g., artwork, jewelry)

                                                                                                                   $                        $


                                                                                                                   $                        $


                                                                                                                   $                        $




                                                                                                                                                Initials:

                                                                      6 of 10    Federal Trade Commission Financial Statement of Individual Defendant

                                                                     Attachment A to TRO
                      Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 49 of 77
Item 18. Real Property
List all real property interests (including any land contract)
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                          Monthly Rent Received
                                                                     $                                        $
Property’s Location                          Type of Property                    Name(s) on Title or Contract and Ownership Percentages




Acquisition Date (mm/dd/yyyy)          Purchase Price                        Current Value                  Basis of Valuation
   /   /                               $                                     $
Lender’s Name and Address                                        Loan or Account No.                        Current Balance On First Mortgage or
                                                                                                            Contract
                                                                                                            $
                                                                                                            Monthly Payment
                                                                                                            $
Other Mortgage Loan(s) (describe)                                    Monthly Payment                           Rental Unit
                                                                     $
                                                                     Current Balance                        Monthly Rent Received
                                                                     $                                      $

                                                                        LIABILITIES
Item 19. Credit Cards
List each credit card account held by you, your spouse, or your dependents, and any other credit cards that you, your spouse, or your dependents use,
whether issued by a United States or foreign financial institution.
 Name of Credit Card (e.g., Visa,
                                                      Account No.                            Name(s) on Account                     Current Balance
 MasterCard, Department Store)
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
                                                                                                                             $
Item 20. Taxes Payable
List all taxes, such as income taxes or real estate taxes, owed by you, your spouse, or your dependents.

                           Type of Tax                                            Amount Owed                               Year Incurred
                                                                       $
                                                                       $
                                                                       $




                                                                                                                                       Initials:

                                                                       7 of 10    Federal Trade Commission Financial Statement of Individual Defendant

                                                                      Attachment A to TRO
                     Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 50 of 77
Item 21. Other Amounts Owed by You, Your Spouse, or Your Dependents
List all other amounts, not listed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
Lender/Creditor’s Name, Address, and Telephone No.         Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                           number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred         Original Amount Owed                 Current Amount Owed                  Payment Schedule
   /   /
(mm/dd/yyyy)                        $                                    $
Lender/Creditor’s Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                     number)


                                                           Lender/Creditor’s Relationship to You



Date Liability Was Incurred             Original Amount Owed                     Current Amount Owed                 Payment Schedule
  /    /
(mm/dd/yyyy)                            $                                        $

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and Escrows
List all funds and other assets that are being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held on your behalf by legal counsel. Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any person or entity.
                                                    Date Established
 Trustee or Escrow Agent’s Name & Address                                 Grantor              Beneficiaries               Present Market Value of Assets*
                                                     (mm/dd/yyyy)
                                                      /    /                                                           $




                                                       /    /                                                          $




                                                       /    /                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.

Item 23. Transfers of Assets
List each person or entity to whom you have transferred, in the aggregate, more than $5,000 in funds or other assets during the previous five years by
loan, gift, sale, or other transfer (exclude ordinary and necessary living and business expenses paid to unrelated third parties). For each such person or
entity, state the total amount transferred during that period.
                                                                                                          Transfer Date               Type of Transfer
Transferee’s Name, Address, & Relationship            Property Transferred        Aggregate Value*
                                                                                                          (mm/dd/yyyy)                (e.g., Loan, Gift)
                                                                                  $                        /   /




                                                                                  $                        /   /




                                                                                  $                        /   /



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


                                                                                                                                           Initials:

                                                                     8 of 10      Federal Trade Commission Financial Statement of Individual Defendant

                                                                    Attachment A to TRO
                    Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 51 of 77
Item 24. Document Requests
Provide copies of the following documents with your completed Financial Statement.

                Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
Item 9          For each bank account listed in Item 9, all account statements for the past 3 years.
                For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
Item 11         most recent balance sheet, tax return, annual income statement, the most recent year-to-date income statement, and all
                general ledger files from account records.
                All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
Item 17         purposes. You may exclude any category of property where the total appraised value of all property in that category is
                less than $2,000.
Item 18         All appraisals that have been prepared for real property listed in Item 18.
Item 21         Documentation for all debts listed in Item 21.
                All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
Item 22
                appraisals that have been done for any assets held by any such trust or in any such escrow.

                                               SUMMARY FINANCIAL SCHEDULES
Item 25. Combined Balance Sheet for You, Your Spouse, and Your Dependents
Assets                                                                 Liabilities
Cash on Hand (Item 9)                                       $          Loans Against Publicly Traded Securities (Item 10)            $
Funds Held in Financial Institutions (Item 9)               $          Vehicles - Liens (Item 16)                                    $
U.S. Government Securities (Item 10)                        $          Real Property – Encumbrances (Item 18)                        $
Publicly Traded Securities (Item 10)                        $          Credit Cards (Item 19)                                        $
Non-Public Business and Financial Interests (Item 11)       $          Taxes Payable (Item 20)                                       $
Amounts Owed to You (Item 12)                               $          Amounts Owed by You (Item 21)                                 $
Life Insurance Policies (Item 13)                           $          Other Liabilities (Itemize)
Deferred Income Arrangements (Item 14)                      $                                                                        $
Vehicles (Item 16)                                          $                                                                        $
Other Personal Property (Item 17)                           $                                                                        $
Real Property (Item 18)                                     $                                                                        $
Other Assets (Itemize)                                                                                                               $
                                                            $                                                                        $
                                                            $                                                                        $
                                                            $                                                                        $
                                        Total Assets        $          Total Liabilities                                             $
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents
Provide the current monthly income and expenses for you, your spouse, and your dependents. Do not include credit card payments separately; rather,
include credit card expenditures in the appropriate categories.
Income (State source of each item)                                 Expenses
Salary - After Taxes                                               Mortgage or Rental Payments for Residence(s)
                                                        $                                                                                $
Source:
Fees, Commissions, and Royalties                                   Property Taxes for Residence(s)
                                                        $                                                                                $
Source:
Interest                                                           Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                        $          and Insurance                                                         $
Source:
Dividends and Capital Gains                                        Car or Other Vehicle Lease or Loan Payments
                                                        $                                                                                $
Source:
Gross Rental Income                                                Food Expenses
                                                        $                                                                                $
Source:
Profits from Sole Proprietorships                                  Clothing Expenses
                                                        $                                                                                $
Source:
Distributions from Partnerships, S-Corporations,                   Utilities
and LLCs                                                $                                                                                $
Source:


                                                                                                                                    Initials:

                                                                 9 of 10       Federal Trade Commission Financial Statement of Individual Defendant

                                                                Attachment A to TRO
                    Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 52 of 77
Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Dependents (cont.)
Distributions from Trusts and Estates                                Medical Expenses, Including Insurance
                                                      $                                                                                    $
Source:
Distributions from Deferred Income Arrangements                      Other Insurance Premiums
                                                      $                                                                                    $
Source:
Social Security Payments                              $              Other Transportation Expenses                                         $
Alimony/Child Support Received                        $              Other Expenses (Itemize)
Gambling Income                                       $                                                                                    $
Other Income (Itemize)                                                                                                                     $
                                                      $                                                                                    $
                                                      $                                                                                    $
                                                      $                                                                                    $

                                     Total Income     $              Total Expenses                                                        $


                                                                ATTACHMENTS
Item 27. Documents Attached to this Financial Statement
List all documents that are being submitted with this financial statement. For any Item 24 documents that are not attached, explain why.

Item No. Document Relates To                                                            Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:

_______________                                              ___________________________________
(Date)                                                       Signature




                                                                  10 of 10      Federal Trade Commission Financial Statement of Individual Defendant

                                                                 Attachment A to TRO
                 Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 53 of 77
                                           FEDERAL TRADE COMMISSION

                            FINANCIAL STATEMENT OF CORPORATE DEFENDANT



Instructions:

1.      Complete all items. Enter “None” or "N/A" (“Not Applicable”) where appropriate. If you cannot fully answer a
        question, explain why.

2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

3.      In completing this financial statement, “the corporation” refers not only to this corporation but also to each of its
        predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities “held by the corporation,” include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right corner.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) “in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry” (18 U.S.C. § 1001);

        (2) “in any . . . statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true” (18 U.S.C. § 1621); or

        (3) “in any (. . . statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information . . . knowing the same to contain any false
        material declaration.” (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 U.S.C. § 3571.




                                                      Attachment B to TRO
                   Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 54 of 77


                                          BACKGROUND INFORMATION


Item 1.            General Information

Corporation’s Full Name ___________________________________________________________________________

Primary Business Address ______________________________________________________ From (Date) _________

Telephone No. _____________________________ Fax No. _____________________________

E-Mail Address________________________ Internet Home Page________________________

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

Address____________________________________________________________ From/Until____________________

All predecessor companies for past five years:

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________

Name & Address _________________________________________________________ From/Until ______________


Item 2.            Legal Information

Federal Taxpayer ID No. _________________________ State & Date of Incorporation _________________________

State Tax ID No. ____________________ State ________________ Profit or Not For Profit _____________________

Corporation’s Present Status: Active ________________ Inactive _______________ Dissolved __________________

If Dissolved: Date dissolved _________________________ By Whom ______________________________________

Reasons _________________________________________________________________________________________

Fiscal Year-End (Mo./Day) ________________ Corporation’s Business Activities _____________________________


Item 3.            Registered Agent

Name of Registered Agent __________________________________________________________________________

Address __________________________________________________________ Telephone No. __________________




          Page 2                                                                          Initials __________
                                                     Attachment B to TRO
                   Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 55 of 77


Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation’s stock.

                                            Name & Address                                                  % Owned

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________

_________________________________________________________________________________ ______________


Item 5.            Board Members

List all members of the corporation’s Board of Directors.

                                   Name & Address                                        % Owned      Term (From/Until)

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________

____________________________________________________________________ __________ _________________


Item 6.            Officers

List all of the corporation’s officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  % Owned

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________

_______________________________________________________________________________ ________________




          Page 3                                                                            Initials __________
                                                      Attachment B to TRO
                   Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 56 of 77


Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities        % Owned

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

___________________________________________________________________ ___________________ _________

State which of these businesses, if any, has ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation’s principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual’s Name                       Business Name & Address                         Business Activities       % Owned

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

__________________ __________________________________________________ __________________ ________

State which of these businesses, if any, have ever transacted business with the corporation _______________________

________________________________________________________________________________________________


Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A “related individual” is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                            Name and Address                                  Relationship           Business Activities

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________

_________________________________________________________ _________________ ______________________




          Page 4                                                                             Initials __________
                                                       Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 57 of 77


Item 10.          Outside Accountants

List all outside accountants retained by the corporation during the last three years.

           Name                    Firm Name                                  Address                       CPA/PA?

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________

____________________ ______________________ ________________________________________ ____________


Item 11.          Corporation’s Recordkeeping

List all individuals within the corporation with responsibility for keeping the corporation’s financial books and records for
the last three years.

                              Name, Address, & Telephone Number                                      Position(s) Held

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________

____________________________________________________________________________ ___________________


Item 12.          Attorneys

List all attorneys retained by the corporation during the last three years.

           Name                        Firm Name                                        Address

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________

____________________ ___________________________ ________________________________________________




        Page 5                                                                             Initials __________
                                                       Attachment B to TRO
                 Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 58 of 77


Item 13.         Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 6                                                                             Initials __________
                                                     Attachment B to TRO
                 Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 59 of 77


Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address___________________________________________________________________________

Docket No._________________ Relief Requested____________________ Nature of Lawsuit____________________

____________________________________ Status______________________________________________________


        Page 7                                                                             Initials __________
                                                     Attachment B to TRO
                 Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 60 of 77


Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date _________________ Termination Date _________________ Docket No. __________________

If State Court: Court & County _______________________ If Federal Court: District __________________________

Disposition ______________________________________________________________________________________


Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner’s Name              Name & Address of Depository Institution                                                   Box No.

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________

__________________ ___________________________________________________________________ __________




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities “held by the corporation,” include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax returns filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year      Tax Due        Tax Paid        Tax Due          Tax Paid           Preparer’s Name
 State/Both                    Federal        Federal          State            State

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________

___________ __________ $_________ $_________ $__________ $__________ ______________________________




        Page 8                                                                                 Initials __________
                                                         Attachment B to TRO
                 Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 61 of 77


Item 18.         Financial Statements

List all financial statements that were prepared for the corporation’s last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements if available.

   Year      Balance Sheet     Profit & Loss Statement     Cash Flow Statement Changes in Owner’s Equity Audited?

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

_________ _____________ ______________________ __________________ _______________________ ________

Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                             Current Year-to-Date          1 Year Ago              2 Years Ago             3 Years Ago
 Gross Revenue             $_________________         $_______________        $_______________         $_______________
 Expenses                  $_________________         $_______________        $_______________         $_______________
 Net Profit After Taxes    $_________________         $_______________        $_______________         $_______________
 Payables                  $_________________
 Receivables               $_________________

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term “cash” includes currency and uncashed checks.

Cash on Hand $_________________________ Cash Held for the Corporation’s Benefit $_______________________

  Name & Address of Financial Institution                Signator(s) on Account             Account No.
                                                                                         Current
                                                                                         Balance
_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________

_____________________________________ _______________________________ ______________ $___________




        Page 9                                                                               Initials __________
                                                      Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 62 of 77


Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________

Issuer _________________________________ Type of Security/Obligation __________________________________

No. of Units Owned __________ Current Fair Market Value $__________________ Maturity Date _______________


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________



Type of Property________________________________ Property’s Location__________________________________

Name(s) on Title and Ownership Percentages___________________________________________________________

Current Value $____________________ Loan or Account No. __________________________

Lender’s Name and Address_________________________________________________________________________

Current Balance On First Mortgage $_______________ Monthly Payment $______________

Other Loan(s) (describe)____________________________________________ Current Balance $_________________

Monthly Payment $__________________ Rental Unit?_________________ Monthly Rent Received $_____________




        Page 10                                                                                Initials __________
                                                       Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 63 of 77


Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                       Acquisition      Current
                                                                                                     Cost           Value

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________

____________________________ _____________________________________________ $__________ $_________


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.

           Trustee or Escrow Agent’s                      Description and Location of Assets               Present Market
                Name & Address                                                                             Value of Assets

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________

______________________________________ _______________________________________ $_________________




        Page 11                                                                               Initials __________
                                                       Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 64 of 77


Item 25.          Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



Item 26.          Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit_______________________________________ Date______________ Amount $______________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________

Opposing Party’s Name & Address___________________________________________________________________

Court’s Name & Address____________________________________________________ Docket No._____________

Nature of Lawsuit______________________________ Date of Judgment________________ Amount $____________



        Page 12                                                                         Initials __________
                                                   Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 65 of 77


Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency ___________________________________________ Contact Person __________________________

Address _____________________________________________________________ Telephone No. _______________

Agreement Date ______________ Nature of Agreement __________________________________________________


Item 28.          Credit Cards

List all of the corporation’s credit cards and store charge accounts and the individuals authorized to use them.

           Name of Credit Card or Store                            Names of Authorized Users and Positions Held

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________

__________________________________________ _____________________________________________________


Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. “Compensation” includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits” include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal      1 Year Ago         2 Years Ago        Compensation or
                                       Year-to-Date                                              Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________




        Page 13                                                                             Initials __________
                                                        Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 66 of 77


Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. “Compensation” includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. “Other benefits”
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position               Current Fiscal      1 Year Ago         2 Years Ago          Compensation or
                                       Year-to-Date                                                Type of Benefits

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

_____________________________ $____________ $___________ $____________ ___________________________

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee’s Name, Address, & Relationship           Property                Aggregate     Transfer     Type of Transfer
                                                     Transferred               Value         Date        (e.g., Loan, Gift)


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________


______________________________________ ________________ $____________ __________ _________________




        Page 14                                                                               Initials __________
                                                        Attachment B to TRO
                  Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 67 of 77


Item 32.          Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

 Item No. Document       Description of Document
     Relates To

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________

___________________ ____________________________________________________________________________




        I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:

______________________________                    _____________________________________________________
(Date)                                            Signature


                                                  _____________________________________________________
                                                  Corporate Position




        Page 15                                                                              Initials __________
                                                      Attachment B to TRO
                            Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 68 of 77
Form     4506                                                  Request for Copy of Tax Return
(September 2018)                                 a Do not sign this form unless all applicable lines have been completed.                           OMB No. 1545-0429
                                                       a Request may be rejected if the form is incomplete or illegible.
Department of the Treasury
                                                    a For more information about Form 4506, visit www.irs.gov/form4506.
Internal Revenue Service

Tip. You may be able to get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
should be able to provide you a copy of the return. The IRS can provide a Tax Return Transcript for many returns free of charge. The transcript
provides most of the line entries from the original tax return and usually contains the information that a third party (such as a mortgage company)
requires. See Form 4506-T, Request for Transcript of Tax Return, or you can quickly request transcripts by using our automated self-help service
tools. Please visit us at IRS.gov and click on “Get a Tax Transcript...” or call 1-800-908-9946.

   1a Name shown on tax return. If a joint return, enter the name shown first.                         1b First social security number on tax return,
                                                                                                          individual taxpayer identification number, or
                                                                                                          employer identification number (see instructions)


   2a If a joint return, enter spouse’s name shown on tax return.                                      2b Second social security number or individual
                                                                                                          taxpayer identification number if joint tax return


   3 Current name, address (including apt., room, or suite no.), city, state, and ZIP code (see instructions)



   4 Previous address shown on the last return filed if different from line 3 (see instructions)



   5 If the tax return is to be mailed to a third party (such as a mortgage company), enter the third party’s name, address, and telephone number.



Caution: If the tax return is being mailed to a third party, ensure that you have filled in lines 6 and 7 before signing. Sign and date the form once you
have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
information, you can specify this limitation in your written agreement with the third party.

   6     Tax return requested. Form 1040, 1120, 941, etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
         schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
         destroyed by law. Other returns may be available for a longer period of time. Enter only one return number. If you need more than one
         type of return, you must complete another Form 4506. a
         Note: If the copies must be certified for court or administrative proceedings, check here .           .   .    .   .   .   .   .   .   .   .   .    .   .   .
   7     Year or period requested. Enter the ending date of the year or period, using the mm/dd/yyyy format. If you are requesting more than
         eight years or periods, you must attach another Form 4506.




   8     Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
         be rejected. Make your check or money order payable to “United States Treasury.” Enter your SSN, ITIN,
         or EIN and “Form 4506 request” on your check or money order.
    a    Cost for each return . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  $                      50.00
     b   Number of returns requested on line 7 . . . . . . . . . . . . . . . . . . . . . .
     c   Total cost. Multiply line 8a by line 8b . . . . . . . . . . . . . . . . . . . . . .                                         $
   9     If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here .            .    .   .   .
Caution: Do not sign this form unless all applicable lines have been completed.
Signature of taxpayer(s). I declare that I am either the taxpayer whose name is shown on line 1a or 2a, or a person authorized to obtain the tax return
requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
managing member, guardian, tax matters partner, executor, receiver, administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
execute Form 4506 on behalf of the taxpayer. Note: This form must be received by IRS within 120 days of the signature date.
    Signatory attests that he/she has read the attestation clause and upon so reading
    declares that he/she has the authority to sign the Form 4506. See instructions.                                             Phone number of taxpayer on line
                                                                                                                                1a or 2a
             F F F




Sign                 Signature (see instructions)                                                   Date
Here
                     Title (if line 1a above is a corporation, partnership, estate, or trust)


                     Spouse’s signature                                                             Date
For Privacy Act and Paperwork Reduction Act Notice, see page 2.                                       Cat. No. 41721E                           Form 4506 (Rev. 9-2018)
                                                          Attachment C to TRO
                        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 69 of 77
Form 4506 (Rev. 9-2018)                                                                                                                                            Page 2

Section references are to the Internal Revenue Code       Chart for all other returns                                 Corporations. Generally, Form 4506 can be
unless otherwise noted.                                                                                            signed by: (1) an officer having legal authority to bind
                                                          If you lived in                                          the corporation, (2) any person designated by the
Future Developments                                       or your business              Mail to:                   board of directors or other governing body, or (3)
For the latest information about Form 4506 and its        was in:                                                  any officer or employee on written request by any
instructions, go to www.irs.gov/form4506.                                                                          principal officer and attested to by the secretary or
Information about any recent developments affecting                                                                other officer. A bona fide shareholder of record
                                                          Alabama, Alaska,                                         owning 1 percent or more of the outstanding stock
Form 4506, Form 4506-T and Form 4506T-EZ will be          Arizona, Arkansas,
posted on that page.                                                                                               of the corporation may submit a Form 4506 but must
                                                          California, Colorado,                                    provide documentation to support the requester's
                                                          Connecticut, Delaware,                                   right to receive the information.
General Instructions                                      District of Columbia,
                                                                                                                     Partnerships. Generally, Form 4506 can be
                                                          Florida, Georgia, Hawaii,
Caution: Do not sign this form unless all applicable      Idaho, Illinois, Indiana,                                signed by any person who was a member of the
lines have been completed.                                Iowa, Kansas, Kentucky,                                  partnership during any part of the tax period
Purpose of form. Use Form 4506 to request a copy          Louisiana, Maine,                                        requested on line 7.
of your tax return. You can also designate (on line 5)    Maryland,                                                   All others. See section 6103(e) if the taxpayer has
a third party to receive the tax return.                  Massachusetts,                                           died, is insolvent, is a dissolved corporation, or if a
                                                          Michigan, Minnesota,                                     trustee, guardian, executor, receiver, or
How long will it take? It may take up to 75
                                                          Mississippi,                                             administrator is acting for the taxpayer.
calendar days for us to process your request.
                                                          Missouri, Montana,
Tip. Use Form 4506-T, Request for Transcript of Tax       Nebraska, Nevada, New                                    Note: If you are Heir at law, Next of kin, or
Return, to request tax return transcripts, tax account    Hampshire, New Jersey,                                   Beneficiary you must be able to establish a material
information, W-2 information, 1099 information,           New Mexico, New York,         Internal Revenue Service   interest in the estate or trust.
verification of nonfiling, and records of account.        North Carolina,               RAIVS Team                 Documentation. For entities other than individuals,
Automated transcript request. You can quickly             North Dakota, Ohio,           P.O. Box 9941              you must attach the authorization document. For
request transcripts by using our automated self-help      Oklahoma, Oregon,             Mail Stop 6734             example, this could be the letter from the principal
service tools. Please visit us at IRS.gov and click on    Pennsylvania, Rhode           Ogden, UT 84409            officer authorizing an employee of the corporation or
“Get a Tax Transcript...” or call 1-800-908-9946.         Island, South Carolina,                                  the letters testamentary authorizing an individual to
                                                          South Dakota,                                            act for an estate.
Where to file. Attach payment and mail Form 4506          Tennessee, Texas, Utah,
to the address below for the state you lived in, or the                                                            Signature by a representative. A representative
                                                          Vermont, Virginia,                                       can sign Form 4506 for a taxpayer only if this
state your business was in, when that return was          Washington, West
filed. There are two address charts: one for                                                                       authority has been specifically delegated to the
                                                          Virginia, Wisconsin,                                     representative on Form 2848, line 5. Form 2848
individual returns (Form 1040 series) and one for all     Wyoming, a foreign
other returns.                                                                                                     showing the delegation must be attached to Form
                                                          country, American                                        4506.
   If you are requesting a return for more than one       Samoa, Puerto Rico,
year or period and the chart below shows two              Guam, the
                                                                                                                   Privacy Act and Paperwork Reduction Act
different addresses, send your request to the             Commonwealth of the
                                                                                                                   Notice. We ask for the information on this form to
address based on the address of your most recent          Northern Mariana
                                                                                                                   establish your right to gain access to the requested
return.                                                   Islands, the U.S. Virgin
                                                                                                                   return(s) under the Internal Revenue Code. We need
                                                          Islands, or A.P.O. or
Chart for individual returns                                                                                       this information to properly identify the return(s) and
                                                          F.P.O. address
                                                                                                                   respond to your request. If you request a copy of a
(Form 1040 series)                                                                                                 tax return, sections 6103 and 6109 require you to
If you filed an                                                                                                    provide this information, including your SSN or EIN,
individual return             Mail to:                    Specific Instructions                                    to process your request. If you do not provide this
                                                                                                                   information, we may not be able to process your
and lived in:                                             Line 1b. Enter your employer identification number       request. Providing false or fraudulent information
Alabama, Kentucky,                                        (EIN) if you are requesting a copy of a business         may subject you to penalties.
Louisiana, Mississippi,                                   return. Otherwise, enter the first social security           Routine uses of this information include giving it to
Tennessee, Texas, a                                       number (SSN) or your individual taxpayer                 the Department of Justice for civil and criminal
foreign country, American     Internal Revenue Service    identification number (ITIN) shown on the return. For    litigation, and cities, states, the District of Columbia,
Samoa, Puerto Rico,           RAIVS Team                  example, if you are requesting Form 1040 that            and U.S. commonwealths and possessions for use
Guam, the                     Stop 6716 AUSC              includes Schedule C (Form 1040), enter your SSN.         in administering their tax laws. We may also
Commonwealth of the           Austin, TX 73301            Line 3. Enter your current address. If you use a P.O.    disclose this information to other countries under a
Northern Mariana Islands,                                 box, please include it on this line 3.                   tax treaty, to federal and state agencies to enforce
the U.S. Virgin Islands, or                               Line 4. Enter the address shown on the last return       federal nontax criminal laws, or to federal law
A.P.O. or F.P.O. address                                  filed if different from the address entered on line 3.   enforcement and intelligence agencies to combat
                                                                                                                   terrorism.
Alaska, Arizona,                                          Note: If the addresses on lines 3 and 4 are different
Arkansas, California,                                     and you have not changed your address with the             You are not required to provide the information
Colorado, Hawaii, Idaho,                                  IRS, file Form 8822, Change of Address. For a            requested on a form that is subject to the Paperwork
Illinois, Indiana, Iowa,                                  business address, file Form 8822-B, Change of            Reduction Act unless the form displays a valid OMB
Kansas, Michigan,             Internal Revenue Service    Address or Responsible Party — Business.                 control number. Books or records relating to a form
Minnesota, Montana,           RAIVS Team                                                                           or its instructions must be retained as long as their
                                                          Signature and date. Form 4506 must be signed and         contents may become material in the administration
Nebraska, Nevada, New         Stop 37106                  dated by the taxpayer listed on line 1a or 2a. The
Mexico, North Dakota,         Fresno, CA 93888                                                                     of any Internal Revenue law. Generally, tax returns
                                                          IRS must receive Form 4506 within 120 days of the        and return information are confidential, as required
Oklahoma, Oregon,                                         date signed by the taxpayer or it will be rejected.
South Dakota, Utah,                                                                                                by section 6103.
                                                          Ensure that all applicable lines are completed before
Washington, Wisconsin,                                    signing.                                                   The time needed to complete and file Form 4506
Wyoming                                                                                                            will vary depending on individual circumstances. The
                                                                                                                   estimated average time is: Learning about the law

                                                          F
                                                                      You must check the box in the

                                                          !
Connecticut,                                                                                                       or the form, 10 min.; Preparing the form, 16 min.;
                                                                      signature area to acknowledge you
Delaware, District of                                                                                              and Copying, assembling, and sending the form
Columbia, Florida,                                                    have the authority to sign and request
                                                                                                                   to the IRS, 20 min.
Georgia, Maine,                                            CAUTION the information. The form will not be
                                                                                                                     If you have comments concerning the accuracy of
Maryland,                     Internal Revenue Service    processed and returned to you if the box is
                                                                                                                   these time estimates or suggestions for making
Massachusetts,                RAIVS Team                  unchecked.                                               Form 4506 simpler, we would be happy to hear from
Missouri, New                 Stop 6705 P-6                 Individuals. Copies of jointly filed tax returns may   you. You can write to:
Hampshire, New Jersey,        Kansas City, MO
New York, North                                           be furnished to either spouse. Only one signature is       Internal Revenue Service
                              64999                       required. Sign Form 4506 exactly as your name
Carolina, Ohio,                                                                                                      Tax Forms and Publications Division
Pennsylvania, Rhode                                       appeared on the original return. If you changed your       1111 Constitution Ave. NW, IR-6526
Island, South Carolina,                                   name, also sign your current name.                         Washington, DC 20224.
Vermont, Virginia, West
Virginia                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                   Where to file on this page.




                                                                         Attachment C to TRO
      Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 70 of 77



               CONSENT TO RELEASE FINANCIAL RECORDS



       I, __________________________of _______________________, (City,
State), do hereby direct any bank, saving and loan association, credit union,
depository institution, finance company, commercial lending company, credit card
processor, credit card processing entity, automated clearing house, network
transaction processor, bank debit processing entity, automated clearing house,
network transaction processor, bank debit processing entity, brokerage house,
escrow agent, money market or mutual fund, title company, commodity trading
company, trustee, or person that holds, controls, or maintains custody of assets,
wherever located, that are owned or controlled by me or at which there is an
account of any kind upon which I am authorized to draw, and its officers,
employees, and agents, to disclose all information and deliver copies of all
documents of every nature in its possession or control which relate to the said
accounts to any attorney of the Federal Trade Commission, and to give evidence
relevant thereto, in the matter of Federal Trade Commission v. Ecological Fox
LLC et al., now pending in the United States District Court of Maryland, and this
shall be irrevocable authority for so doing.

      This direction is intended to apply to the laws of countries other than the
United States of America which restrict or prohibit disclosure of bank or other
financial information without the consent of the holder of the account, and shall be
construed as consent with respect hereto, and the same shall apply to any of the
accounts for which I may be a relevant principal.



Dated:_______________           Signature:_____________________________

                                Printed Name:__________________________




                                   Attachment D to TRO
          Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 71 of 77



                                   Cryptocurrency Financial Statement


Full Name: _______________________________                Social Security Number: __________________


When an item asks for information regarding your cryptocurrency, include ALL cryptocurrency, whether
held in the United States or in any foreign country or territory, or institution, whether held individually
or jointly, and whether held by you, your spouse, or any of your dependents, or held by others for the
benefit or you, your spouse, or any of your dependents.

This Cryptocurrency Financial Statement does NOT request information necessary to transfer, dispose
of, or otherwise exert control over the cryptocurrency.

Place your initial in the bottom right corner of each page. If you need additional space, attach a page to
this form and note the item to which the information is responsive and place your initial in the bottom
right corner of each page you add.

Item 1.

For all your cryptocurrency, state the following:
         a. The type of cryptocurrency;
         b. The amount of cryptocurrency and its current value;
         c. The location and method of storage of the private keys necessary to exert control over the
             cryptocurrency (e.g. third party custodian, web wallet, hardware wallet, personal computer,
             handwritten document, etc.), and if applicable, the name and manufacturer of any software
             or hardware storage methods;
         d. Any public addresses or public keys associated with the cryptocurrency; and
         e. The owners of your cryptocurrency and the percentage of ownership of each owner.




                                             Attachment E to TRO
          Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 72 of 77



                                                                                        Initial: _______
Item 2.

For all cryptocurrency for which you have possession or access to the private key, excluding your
cryptocurrency disclosed in Item 1, state the following:
         a. The type of cryptocurrency;
         b. The amount of cryptocurrency and its current value;
         c. The location and method of storage of the private keys necessary to exert control over the
             cryptocurrency (e.g. third party custodian, web wallet, hardware wallet, personal computer,
             handwritten document, etc.), and if applicable, the name and manufacturer of any software
             or hardware storage methods;
         d. Any public addresses or public keys associated with the cryptocurrency; and
         e. The owners of the cryptocurrency and the percentage of ownership of each owner.




                                                                                        Initial: _______




                                           Attachment E to TRO
          Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 73 of 77




Item 3.

List each person or entity to whom you, your spouse, or any of your dependents have transferred, in the
aggregate, more than $5,000 worth of cryptocurrency within the last five years, the value of the
cryptocurrency transferred, the reason for the transfer, and the date of the transfer.




                                           Attachment E to TRO
          Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 74 of 77



                                                                                        Initial: _______

Item 4.

List each person or entity from whom you, your spouse, or any of your dependents have received, in
the aggregate, more than $5,000 worth of cryptocurrency within the last five years, the value of the
cryptocurrency transferred, the reason for the transfer, and the date of the transfer.




                                           Attachment E to TRO
          Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 75 of 77



                                                                                         Initial: _______

Item 5.

List all security interests held in any of your cryptocurrency disclosed in response to Item 1, the name
and address of the holder of the security interest, and the amount of the security interest, and the date
the security interest was placed upon the the cryptocurrency.




                                            Attachment E to TRO
        Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 76 of 77



                                                                                          Initial: _______

         I am submitting this financial statement with the understanding that it may affect action by the
Federal Trade Commission or a federal court. I have used my best efforts to obtain the information
requested in this statement. The responses I have provided to the items above are true and contain all
the requested facts and information of which I have notice or knowledge. I know of the penalties for
false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is
true and correct.


Executed on: _________________                   Signature: ____________________________________
             (Date)

                                                 Printed name: _________________________________




                                            Attachment E to TRO
       Case 1:18-cv-03309-PJM Document 164 Filed 02/09/19 Page 77 of 77




                                     Certificate of Service

      I, Benjamin J. Theisman, hereby certify that on February 9, 2019, I served the foregoing
document through ECF and otherwise by email to the following people and entities:

       David Wiechert, counsel for Rod Kazazi and entities he owns or controls, at
       dwiechert@aol.com;

       Wayne Gross, Joshua Robbins, Peter Hardin, and J. Bradford McCullough,
       counsel for Angela Chittenden, Beach Bunny Holdings LLC, and Power Haus
       Marketing, at wgross@ggtriallaw.com; jrobbins@ggtriallaw.com;
       phardin@ggtriallaw.com; and jbmccullough@lerchearly.com;

       Patrick Bradford, Jeffrey Newton, Stephen Farrelly, Eric Creizman, and Glenn
       Ivey, counsel for Andris Pukke and entities he owns or controls, at
       pbradford@piercebainbridge.com; jnewton@piercebainbridge.com;
       sfarrelly@piercebainbridge.com; ecreizman@piercebainbridge.com; and
       glenn@pricebenowitz.com;

       Cori Ferrentino and Michael King, counsel for Brandi Greenfield and entities she
       owns or controls, at cori@ferrentinolaw.com and mking@wintersking.com.

       Peter Baker and entities he owns or controls at peterbakerx@gmail.com;

       Frank Costanzo and Deborah Connelly and entities they own or control at
       ecologicalfox@gmail.com;

       Joseph Rillotta, counsel for John Usher, at joseph.rillotta@dbr.com;

       David Barger and William Clayton, counsel for John Vipulis, at
       bargerd@gtlaw.com and claytonw@gtlaw.com;

       Andrew Stolper, counsel for Luke Chadwick, Prodigy Management Group LLC,
       Belize Real Estate Affiliates LLC, Exotic Investor LLC, and Southern Belize
       Realty LLC, at astolper@lawfss.com;

       Chip Magid and Shawn Larsen-Bright, counsel for Atlantic International Bank
       Ltd., at Magid.Chip@dorsey.com and Larsen.bright.shawn@dorsey.com;

       Jennifer Short and Courtney Forrest, counsel for Michael Santos, at
       jshort@kaiserdillon.com and cforrest@kaiserdillon.com; and

       Gary Caris, James E. Van Horn, and Kevin Driscoll, counsel for the Receiver, at
       gcaris@btlaw.com; jvanhorn@btlaw.com; and kevin.driscoll@btlaw.com.


                                                   /s/ Benjamin J. Theisman_____
